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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

v.

LARRY LOVETT,

Defendant.                                                          No. 07-30099-DRH

                               MEMORANDUM and ORDER

HERNDON, Chief Judge:

               Now before the Court is Larry Lovett’s motion for leave to proceed in

forma pauperis (Doc. 159) and motion to appoint counsel (Doc. 161). Based on the

following, the Court denies as moot the motion to proceed in forma pauperis and

denies the motion to appoint counsel.

               As to the motion to proceed in forma pauperis, the Court finds that the

motion is moot. On June 18, 2009, the Court sentenced Lovett to 267 months

imprisonment on Counts 1, 5, 6 and 7 of the superseding indictment (Doc. 139) and

the Clerk of the Court entered judgment reflecting the same (Doc. 141).1 Thereafter,

on July 15, 2009, Lovett filed a notice of appeal (Doc. 158).2 He also filed a motion

       1
        At the sentencing hearing, retained counsel Mr. Rodney Holmes represented Lovett.
       2
         The Court notes that the Clerk of the Court, as a matter of course, electronically filed
Lovett’s pleading as a notice of appeal from the Court’s June 18, 2009 Judgment. However, a
review of Lovett’s pleading indicates to this Court that Lovett may have been attempting to file a
petition for habeas corpus pursuant to 28 U.S.C. § 2255. The document is titled “DEFENDANT’S
NOTICE OF APPEAL PURSUANT TO 28 USC § 2255 PETITION; PETITION TO PROCEED PRO SE

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to proceed in forma pauperis and a motion to appoint counsel. That same day, the

Clerk of the Court transmitted Lovett’s notice of appeal to the Seventh Circuit Court

of Appeals (Doc. 162).

              As to his criminal appeal, Lovett does not need the Court’s permission

to proceed on appeal in forma pauperis in his criminal case because the Court

determined at the trial level that he was financially unable to obtain an adequate

defense, see Docs. 11 & 19, although he eventually did retain private counsel. “A

party ... who was determined to be financially unable to obtain an adequate defense

in a criminal case ... may proceed on appeal without further authorization” unless

the district court certifies or a statute provides otherwise. Fed.R.Civ.P. 24(a)(3).

The Court has not and will not certify that Lovett should not be allowed to continue

as a pauper and no statute forbids it. Therefore, Lovett already has the authority he

needs. Thus, the Court DENIES as moot the motion for leave to proceed in forma

pauperis (Doc. 159).

              As to Lovett’s motion for appointment of counsel (Doc. 161), the Court

does not have the authority to make such decisions once final judgment has been

entered. Only the Court of Appeals may allow defense counsel to withdraw after

judgment is entered or appoint new counsel for purposes of an appeal. United

States v. Flowers, 789 F.2d 569, 570 )(7th Cir. 1986)(per curiam); accord

Corral v. United States, 498 F.3d 470, 474 (7th Cir. 2007); see Circuit Rule 51


AND IN FORMA PAUPERIS.” Further, Lovett’s pleading states that his plea was not voluntary and
claims ineffective assistance of counsel.

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(“Trial counsel in a criminal case, whether retained or appointed by the district

court, is responsible for the continued representation of the client desiring to

appeal unless specifically relieved by the court of appeals upon a motion to

withdraw.”). Thus, the Court denies the motion for appointment of counsel (Doc.

161).

            IT IS SO ORDERED.

            Signed this 16th day of July, 2009.



                                                  /s/    DavidRHer|do|
                                                  Chief Judge
                                                  United States District Court




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